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                       UNITED STATES DISTRICT COURT                )ANJ
                       SOUTHERN DISTRICT W _FLORIDA
                              MIAMI DIVI S                       4~1R~Sl~r MAhpnx

                                                                          I~iVFLMIA

 UNITED STATES OF AMERICA,

             Plaintiff,

       v.
                                       CIVIL ACTI€W ..      IORDA N
 UNIVERSITY OF MIAMI,

             Defendant .




                                  COMPLAIN T

       The United States of America, by the authority of the

 Attorney General of the United States, acting at the request of

 the United States Army, through the undersigned attorneys, files

 this complaint and alleges as follows :

                             NATURE OF ACTION


       1 . This is a civil action, brought against the University

 of Miami ("Defendant" or "the University") under the

 Comprehensive Environmental Response, Compensation, and Liability

 Act ("CERCLA"), 42 U .S .C . §§ 9601 - 9675 . The United States Army

 Corps of Engineers responded to releases and threatened releases

 of radionuclides buried at a location in Perrine, Dade County,

 Florida (the "Site") . Plaintiff seeks to recover costs incurred,

 and to obtain a declaratory judgment as to liability for costs to

 be incurred, for responding to the releases and threatened

 releases of the hazardous substances .
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Justice), and 519 (Supervision of litigation), and Executive


Order 12, 580 § 6   (January 23, 1987) .

                               ALLEGATIONS


     7 . The Site is located in Perrine, Dade County, Florida,

on land that was once a parcel of the Richmond Naval Air Station .

                                                         .
     8 . The University is the current owner of the Site

      9 . From approximately 1946 through 1966, the University

rented the Site from the United States, under a series of leases

               . From approximately 1946 through 1966, the
and permits

University used     the Site for research . The Site included a


 laboratory building . From approximately 1946 through 1966, the

 University conducted medical and biological research using


 radioactive materials .

            . From approximately 1946 through 1966, the University
      10

 directed the workings of, managed, or conducted the affairs of

 the Site, including operations related to disposal of waste . At

 some or all times between 1946 through 1966, the University was

 an "operator" of the Site, within the meaning of section 101(20)

                                     .
 of CERCLA, 42 U .S .C . §§ 9601(20)

            . During some or all of the time between approximately
       11

  1946 through 1966, the University used the following at the Site :

  Carbon (C-14), Cesium (Cs-137) Cobalt (Co-60), Zinc (Zn-65),

  tritium (H-3), Iron (Fe-59), Iodine (1-131), Chromium (Cr-51),

                      . Each material in the preceding sentence is a
  and Sulfur (S-35)


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1 . (a) PLAINTIFF S                                                                                                                DEFE N
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I[ . BASIS OF JURISDICTION                                       (Place an   "X " in One tax On1s)                     III . CITIZENSHIP OF PRINCIPAL PART t ~;                                                      a    for Plaudi t
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 IV . NATURE OF SUIT                           (Place an" X '• ht One Box Onl
              CONTRACT                                                   TORTS                                           FORFEITURE/ PENALTY                       BANKRUPTCY                          OTHER STATUTE S
7 110 Insurance                                 PERSONAL INJURY                           PERSONAL INJURY                O 610 Agriculture                  O 422 Appeal 28 USC 158            O 400 State Reappo rt ionment
-1 120 Marine                                O 310 Airplane                            C1 362 Personal Injury -          O 620 Other Pond & Drug            O 423 Withdrawal                   O 410 Ant itrust
7 130 Miller Act                             C1 315 Airplane Product                          Med . Malpractice          O 625 Drug Related Seizure               28 USC 157                   O 430 Banks and Bankin g
1 140 Ncguuable Insuvnlent                          Liability                          O 365 Personal Injury -                  of Property 21 USC 881                                         O 450 Commerce
1 ISO Rccnsery ofOverpavment                 C1 320 Assault . Libel &                         Product Liability          O 63U Liquor Laws                    -PROPERTY RIGHTS                 O 460 Deport ation
        & l ii dnreement of Judgment                   Slander                         t7 368 Asbestos Personal          O     640 R .R . & Truck           O 820 Copyrights                   O 470 Racketeer Influenced and
 7 101 Medicare Act                          O 330 Federal Employers'                         Injury Product             O 650 Airline Regs .               O 830 Patent                             Corrupt Organization s
 1 I i' Recto cry of Defaulted                         Liability                              Liability                  O 660 Occupational                 O 840 Trademark                    O 480 Consumer Credi t
         Student Loans                       O 340 Marine                               PERSONAL PROPERTY                      Safety/Health                                                   O 490 Cable/Sat T V
         (Lscl . Veterans)                   O 345 Marine Product                      7 370 Other Fraud                 O 690 Other                                                           O 810 Selective Serv ic e
 1 I'3 Rcco,cn oft),crpasnlenl                          Liability                      7 371 Truth in Lending                        LABOR                     SOCIAL SECURITY                 C3 850 Securities/Commoditics/
           of Veter ;ln's Benefits           !7 35)) Molar VeInclc                     O 380 Other Personal              O 710 Fair Labor Standards         0 861 111A (139511)                       Exchang e
 1 I l+1) ,ockholden' Suit,                  "l ,i5 Motor Vehicle                                Property Damage                   Act                      O 862 Black Lung (923)             O 875 Customer Challenge
7 I vrl ()Iher t lmtracl                            Product Liability                  7 185 Property Damage             O 720 Labor/Mgmt . Relations       d 863 DI WC/DI W W (40S(g))              12 USC 341) )
7 I')> Ionise Produce I iahilits             :7 360 Other Personal                            Product Liability          O 730 Labor/ Mgmt .Repunmg         O 864 SSID Title XVI               O 890 Other Statutory Action s
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     REAL PROPERTY                                CIVIL RIGHTS                          PRISONER PETITIONS               O 740 Railway Labor Act               FEDERAL TAX SUITS               7 892 Economic Stabilization Ac t
7 ' 10 [ .and Condemnation                   7 441 Voting                              O 510 Motions to Vacate           O 790 Other Labor Litigation       O 870 Taxes (U .S . Plaintill'     X 893 Environmental Matters
 7 2211 I arecl o,ure                        O 442 Employment                                    Sentence                O 791 Empl . Ret . Inc .                 or Defendant)                O 894 Energy Allocation Ac t
7 -30 Kent Lease & Flecmmnt                  71 443 Iloosing!                                  habeas Corpus:                      Security Act             0 871 IRS-third Party              O 895 Freedom oflnlimnatio n
 7 '40 Ions Io Land                                Acconunod; Lions                    O 530 G eneral                                                             26 USC 7609                           Ac t
 7 '4~ I ore Product I ,,helm                1 444 Welfare                             O 535 Death Penalty                                                                                     Cl    90OAppcal oFFee Determination
 1 '90 'ill )Ober Kcal I'rupcrty             '7 445 Amer . ,s'DisahiiGes -             7 540 Mandamus & Other                                                                                           Under Equal Acces s
                                                       Enq,luymrm                      ~1 550 Civil Rights                                                                                              to Justice
                                             7 446 Amer ,s,Dnahilities -               17 555 Prison (undition                                                                                 O 950 Constitutionality o f
                                                       (Other                                                                                                                                           State Statute s
                                             7 440 Other C i, it Right s


V . ORIGIN                           ('lace an -X in ()lie Box ( )nIV )                                                                                                                                         Appeal to District
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                                                    (Cite life U S . C'i, it Stalule under ishich con are filing and Write it Brief Slatentent of Cause ( Do not cite jurisdictional statutes unless diversity) :

 VI . CAUSE OF ACTIO N                                  civil action for costs incurred and declaratory . judgment under CERCLA, 42 U .S .C . sections 9601- 9675

                                                    I F NU I H ()I 191 :\I . , Ia~~Jays csumaicJ) Icr bah ,etc, in Ir, clllue ease )

 VII . REQUESTED IN                                         CHECK IP TI I I S IS :\ CLASS ACTION                             DEMAND S CHECK YFS only if demanded in complaint
       COMPLAINT :                                          UNDER F .R .C .P . 2 3                                                                                    JURY DEMAND : 71 Yes y-! N o

     III . RELATE) CASE(S)
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